      Case 0:21-mj-06102-JMS Document 6 Entered on FLSD Docket 03/01/2021 Page 1 of 1

          UNITED STATES DISTRICT CO URT FO R SO UTHERN DISTRICT O F FLORIDA HCOURT O RDER/M INUTESH
                 U.s.MAGISTM TE JUDGE JARED M.STRAUSS-FORT LAUDERDALE,FLORIDA (VIA ZOOM)

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